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 Robert J. Lemons

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                    :
                                     Debtors.                       :   (Jointly Administered)
 -------------------------------------------------------------------x

                    NOTICE OF SUBPOENA ISSUED PURSUANT TO
                ORDER GRANTING THE DEBTORS AUTHORITY TO ISSUE
               SUBPOENAS FOR THE PRODUCTION OF DOCUMENTS AND
             AUTHORIZING THE EXAMINATION OF PERSONS AND ENTITIES

                    Pursuant to the Order Granting the Debtors Authority to Issue Subpoenas for the

 Production of Documents and Authorizing the Examination of Persons and Entities, entered on

 November 23, 2009 (the “Order”),1 the Court granted Lehman Brothers Holdings Inc. and its

 affiliated debtors in the above-referenced chapter 11 cases (together, the “Debtors”) authority to

 issue subpoenas requiring persons or entities to produce documents to the Debtors and/or submit

 to examinations by the Debtors.




 1
   All capitalized terms used but not defined herein shall have the meanings ascribed to them in
 the Order.



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                    As required by the Order, the Debtors hereby file notice of a subpoena issued by a

 Debtor pursuant to the Order. The date the subpoena was served, the name of the witness and

 the date, time and place of any examination are set forth on “Exhibit A” attached hereto.


 Dated: December 6, 2012
        New York, New York
                                                 /s/ Robert J. Lemons
                                                 Robert J. Lemons
                                                 WEIL, GOTSHAL & MANGES LLP
                                                 767 Fifth Avenue
                                                 New York, New York 10153
                                                 Telephone: (212) 310-8000
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                                                 Attorneys for Debtors
                                                 and Debtors in Possession




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                                               Exhibit A

                                       NOTICE OF SUBPOENA

 Name of Witness:                    KING STREET EUROPE, L.P.

 Date of Service of Subpoena:        December 3, 2012

 Subject of Subpoena:                Production of Documents and Interrogatories, pursuant to Fed.
                                     R. Bankr. P. 2004

 Date, Time and Place of any         Documents to be produced by January 7, 2013 at 10:00 A.M.
 Examination:                        (EST) at Weil, Gotshal & Manges LLP, 767 Fifth Avenue,
                                     New York, NY 10153




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